
22 So.3d 859 (2009)
N.R., a Child, Appellant,
v.
STATE of Florida, Appellee.
Nos. 5D08-4328, 5D08-4329.
District Court of Appeal of Florida, Fifth District.
December 4, 2009.
James S. Purdy, Public Defender, and Allison A. Havens, Assistant Public Defender, Daytona Beach, for Appellant.
Bill McCollum, Attorney General, Tallahassee, and Rebecca Rock McGuigan, Assistant Attorney General, Daytona Beach, for Appellee.
PALMER, J.
N.R. appeals the final orders entered by the trial court adjudicating him delinquent and committing him to a high-risk, level 10 commitment program, rejecting the Department of Juvenile Justice's (DJJ) recommended sentence of Level 6, moderate-risk commitment program. As the State properly concedes, reversal is required.
The Florida Supreme Court issued its opinion in E.A.R. v. State, 4 So.3d 614 (Fla.2009), while this appeal was in the pipeline. In that case, the Supreme Court set forth a more rigorous analysis for a trial court to follow before it can depart from DJJ's recommendation regarding placement. Understandably, the trial court's explanation for departing from the recommendation of the DJJ is not in accordance with this newly articulated standard. Accordingly, we reverse and remand for the entry of an order which complies with the requirements of E.A.R.
REVERSED and REMANDED.
MONACO, C.J. and SAWAYA, JJ., concur.
